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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                    )
 NATIONAL SECURITY ARCHIVE,                         )
                                                    )
                       Plaintiff,                   )
                                                    )
                        v.                          ) Civil Action No. 17-492 (TSC)
                                                    )
 UNITED STATES DEPARTMENT OF                        )
 DEFENSE,                                           )
                                                    )
                       Defendant.                   )
                                                    )

                             DEFENDANT’S PROPOSED ORDER

       Upon consideration of the Parties’ Joint Status Report, it is hereby ordered that:

       1.     The United States Department of Defense shall continue to process the documents

responsive to Plaintiff’s FOIA request at the rate of 4,000 pages every 60 days and release to

Plaintiff those pages and segregable portions of documents that are not exempt from disclosure,

with the next release to be made by February 28, 2018; and

       2.     The status conference scheduled for January 11, 2018 is vacated and rescheduled

for _________________, 2018.


SIGNED:



________________                                     ___________________________________
Date                                                 TANYA S. CHUTKAN
                                                     United States District Judge
